935 F.2d 267Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Marie M. McMAHON, Attorney-in-Fact, Plaintiff-Appellant,v.Donald KENT, Donald L. Bowman, Defendant-Appellees,andJohn H. Johnston, Defendant.
    No. 91-2046.
    United States Court of Appeals, Fourth Circuit.
    Submitted May 6, 1991.Decided May 31, 1991.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Alexandria.  Albert V. Bryan, Jr., Chief District Judge.  (CA-89-173-A)
      Marie M. McMahon, appellant pro se.
      Kevin Lee Locklin, Slenker, Brandt, Jennings &amp; Johnston, Merrifield, Va., for appellees.
      E.D.Va.
      AFFIRMED.
      Before DONALD RUSSELL, WILKINSON and WILKINS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Marie M. McMahon appeals from the district court's order denying her motion for default judgment.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  McMahon v. Kent, CA-89-173-A (E.D.Va. Feb. 4, 1991).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    